                Case 3:21-md-02981-JD Document 868-1 Filed 12/11/23 Page 1 of 1
                                      UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF CALIFORNIA

Case:   3:20-cv-05671-JD Epic Games, Inc. v. Google LLC et al
        21-md-02981-JD In re Google Play Store Antitrust Litigation

                                          EXHIBIT and WITNESS LIST

 JUDGE:                                    PLAINTIFF’S ATTORNEY:               DEFENSE ATTORNEY:
 Hon. James Donato                         Lauren Moskowitz,                   Lauren Bell, Jonathan Kravis,
                                           Yonatan Even, Gary Bornstein,       Michelle Chiu, Brian Rocca,
                                           Brent Byars, Andrew Wiktor          Kuru Olasa, Kyle Mach,
                                                                               Justin Raphael, Glenn Pomerantz
 JURY TRIAL DATE:                          REPORTER(S):                        CLERK:
 12/11/2023                                Kelly Shainline                     Lisa R. Clark

 PLF DEF TIME
 NO. NO. OFFERED                ID REC DESCRIPTION                                                          BY
                                       Court in session; out of the presence of the jury. Court rules
                8:35 am
                                       on parties’ objections to the verdict form.
                8:44 am                Court in recess.
                                       Court in session; all parties and jury present. Court instructs
                9:09 am
                                       the jury.
                10:25 am               Court in recess.
                                       Court in session; all parties and jury present. Plaintiff’s
                10:48 am
                                       closing argument.
                11: 41 am              Defendants’ closing argument.
                12:41 pm                     Rebuttal argument by plaintiff.
                12:48 pm                     Jury deliberating
                12:55 pm                     Jury at lunch
                1:25 pm                      Jury deliberating
                3:24 pm                      Jury on break
                3:40 pm                      Jury deliberating
                4:06 pm                      Court in session; all parties and jury present.
                                             Court reads the verdict. Verdict for the plaintiff. Jury
                                             discharged.
                                             Status conference set for 1/11/2024 @10 a.m. Parties to meet
                                             and confer on a briefing schedule for any post-trial motions
                                             and briefing on remedy.
                4:20 pm                      Court in recess.
